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                       EXHIBIT 3

          PLAINTIFFS’ SUR-REPLY IN SUPPORT OF
              PLAINTIFFS’ OPPOSITION TO
           DEFENDANTS’ MOTION TO DISMISS
               COMPLAINT PURSUANT TO
                 FED. R. CIV. P. 12(B)(2)
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